            Case 1:19-cv-02723-CRC Document 7-2 Filed 10/11/19 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION and
AIRLINE PROFESSIONALS ASSOC. OF
THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL UNION NO.                         Civil Action No. 1: 19-cv-02723-CRC
1224,

                   Plaintiffs,

       v.
ATLAS AIR, INC.,

                   Defendant.


                          DECLARATION OF RACHEL S. JANG ER

I, RACHEL S. JANGER, declare and state as follows:

       1.       I am a senior counsel with the law firm ofO'Melveny & Myers LLP

("O'Melveny"), at its office located at 1625 Eye Street, NW, Washington, D.C. 20006. I am a

member in good standing of the Bars of the District of Columbia and New York and am admitted

to practice before this Court. O'Melveny is counsel to Defendant Atlas Air, Inc. ("Atlas"). I

have personal knowledge of the facts set forth below and if called as a witness in this matter, I

could and would competently testify to the below facts.

       2.       A true and correct copy of Union Exhibit 1 from the October 24-26, 2018 Atlas-

IBT System Board arbitration hearing captioned "Management Grievance Alleging Violation of

Section 1.F of the Atlas Air, Inc.-Intemational Brotherhood Of Teamsters, Airline Division,

Local 1224 Crewmembers CBA" is attached hereto as Exhibit A. This Exhibit contains Sections

1, 20, 21 and 34 of the collective bargaining agreement between Atlas Air, Inc. and International

Brotherhood of Teamsters, Airline Division, dated September 8, 2011.


                                                  1
            Case 1:19-cv-02723-CRC Document 7-2 Filed 10/11/19 Page 2 of 3



       3.       True and correct copies of the certified transcripts of the Atlas-IBT System Board

arbitration hearing captioned "Management Grievance Alleging Violation of Section 1.F of the

Atlas Air, Inc.-International Brotherhood Of Teamsters, Airline Division, Local 1224

Crewmembers CBA," dated October 24, 25, and 26, 2018 ("Atlas Management Grievance

Arbitration") are attached hereto as Exhibits B, C, and D, respectively.

       4.       A true and correct copy of Joint Exhibit 1 from the Atlas Management Grievance

Arbitration is attached hereto as Exhibit E. This Exhibit contains Atlas' April 14, 2016

management grievance and accompanying documents, and the IBT's April 20, 2016 response to

the management grievance.

       5.       True and correct copies of Atlas Management Grievance Arbitration Post-Hearing

Briefs, filed on March 1, 2019 by Atlas and the IBT with Arbitrator Nicolau and the Atlas

System Board, are attached hereto as Exhibits F and G, respectively.

       6.       A true and correct copy of Company Exhibits 60, 64 and 65 from the Atlas

Management Grievance Arbitration are attached hereto as Exhibits H, I, and J respectively.

Exhibit His Atlas' and Southern's Complaint to Compel Arbitration Under the Railway Labor

Act filed in Civil Action No. 7: 17-cv-00903-NSR in the Southern District of New York on

February 7, 2017. Exhibits I and J are Atlas' and Southern's Memorandum of Law in Support of

Plaintiffs' Amended Motion for Summary Judgment and to Compel Arbitration, and their

Memorandum of Law in Further Support of Plaintiffs' Amended Motion for Summary Judgment

and to Compel Arbitration and in Opposition to Defendants' Motion to Dismiss, both of which

were filed in Civil Action No. 7: 17-cv-00903-NSR in the Southern District of New York on July

20, 2017.




                                                 2
         Case 1:19-cv-02723-CRC Document 7-2 Filed 10/11/19 Page 3 of 3



       I declare under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.

       Executed this 11th day of October, 2019 at Washington, D.C.



                                        ~aeAJ~-J~c1
                                          ;el S. Jange




                                                 3
